                                         Case 3:20-cr-00249-RS          Document 87        Filed 05/13/22      Page 1 of 1




                                   1                                 UNITED STATES DISTRICT COURT
                                   2                               NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4                                    RELATED CASE ORDER
                                   5
                                             A Notice of Related Cases has been filed that the following cases are related within the
                                   6   meaning of Crim. L.R. 8-1(b):
                                   7
                                              20-cr-00249-RS                         USA v. Andrade
                                   8
                                              22-cr-00171-EMC                        USA v. Mata
                                   9

                                  10
                                                                                    ORDER
                                  11

                                  12          The time for filing a statement to support or oppose the Notice has passed. On the basis of
Northern District of California
 United States District Court




                                       the material submitted to the Court, as the Judge assigned to the earliest filed case, I find that the
                                  13   cases:
                                  14
                                              ( )     ARE NOT RELATED as defined by Crim. L.R. 8-1(b).
                                  15
                                              ( )     ARE RELATED as defined by Crim. L.R. 8-1(b). I find, however, that
                                  16                  reassignment to me of the action(s) currently assigned to another judge is not
                                                      warranted.
                                  17
                                              (X )    ARE RELATED as defined by Crim. L.R. 8-1(b). Pursuant to Crim. L.R. 8-1(e),
                                  18                  the Clerk of Court is ordered to reassign the later-filed action to the undersigned.
                                                      Counsel are instructed that all future filings are to bear the initials RS immediately
                                  19                  after the case number. All matters presently scheduled for hearing in the reassigned
                                                      case(s) are vacated and must be renoticed for hearing before the undersigned.
                                  20

                                  21
                                              DATED: 5/13/2022
                                  22
                                                                                        ______________________________________
                                  23
                                                                                        RICHARD SEEBORG
                                  24                                                    Chief United States District Judge

                                  25

                                  26

                                  27

                                  28
